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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0230V
                                          UNPUBLISHED


    LYNN REZEK,                                                 Chief Special Master Corcoran

                         Petitioner,                            Filed: August 31, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Tetanus
    HUMAN SERVICES,                                             Diphtheria acellular Pertussis (Tdap)
                                                                Vaccine; Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA)


Howard Gold, Gold Law Firm, LLC, Wellesley Hills, MA, for petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION ON JOINT STIPULATION 1

        On February 11, 2019, Lynn Rezek filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left Shoulder Injury Related to
Vaccine Administration (SIRVA) after receiving a Tdap vaccination on April 18, 2017.
Petition at 1-2; Stipulation, filed at August 26, 2020, ¶¶ 2, 4. Petitioner further alleges that
she suffered the onset of her symptoms within 48 hours, that she suffered from pain and
decreased range of motion in her shoulder, and that she experienced the residual effects
of her injury for more than six months. Petition at 2; Stipulation at ¶ 4. “Respondent denies
that petitioner sustained a SIRVA Table injury and denies that petitioner’s alleged
shoulder injury was caused-in-fact by the Tdap vaccine. Respondent further denies that
the Tdap vaccine caused petitioner any other injury or her current condition. Respondent
also denies that petitioner suffered the residual effects of this condition for more than six
months. ” Stipulation at ¶ 6.

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   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Nevertheless, on August 26, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $25,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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